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UNITED STATES DISTRICT COURT Suva 22 PH y: 09
MIDDLE DISTRICT OF FLORIDA ULLERK US NStaIer an...
TAMPA DIVISION ee MEST BICT Ore
UNITED STATES OF AMERICA
ss CASE NO. ¥' 2.0 -C¥-30~7- 3676W
21 U.S.C. § 846
EDWAR RODRIGUEZ,
a/k/a “Domi,”
a/k/a “Brooklyn,”
CHRISTIAN SANTIAGO RONDON,
VICTOR SANTIAGO RONDON, SEK. AT LE WD
OLGA PATRICIA JACKSON, Mitt A a Bese
JORGE RAMIREZ,
a/k/a “Dientes,”
a/k/a “Ching,”
a/k/a “Cha-Ching,” and
CARLOS BIRIS MARTINEZ,
a/k/a “Weecho,”
a/k/a “Joto”
INDICTMENT
The Grand Jury charges:
COUNT ONE

Beginning on an unknown date, but not later than on or about
January 1, 2018, and continuing through on or about April 23, 2019, in the
Middle District of Florida, and elsewhere, the defendants,

EDWAR RODRIGUEZ,
a/k/a “Domi,”
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a/k/a “Brooklyn,”
CHRISTIAN SANTIAGO RONDON,

VICTOR SANTIAGO RONDON,
OLGA PATRICIA JACKSON,
JORGE RAMIREZ,

a/k/a “Dientes,”

a/k/a “Ching,”

a/k/a “Cha-Ching,” and
CARLOS BIRIS MARTINEZ,
a/k/a “Weecho,”

a/k/a “Joto,”

did knowingly and willfully conspire with each other and other persons, both
known and unknown to the Grand Jury, to possess with intent to distribute
and to distribute a controlled substance. The violation involved 50 grams or
more of methamphetamine, a Schedule II controlled substance, a mixture and
substance containing a detectable amount of cocaine, a Schedule II controlled
substance, and a mixture and substance containing a detectable amount of
heroin, a Schedule I controlled substance.

All in violation of 21 U.S.C. §§ 846 and 21 U.S.C. §§ 841(b)(1)(A)(viii)
and (b)(1)(C).

FORFEITURE

1. The allegations contained in Count One are hereby realleged and

incorporated by reference for the purpose of alleging forfeiture pursuant to the

provisions of 21 U.S.C. § 853 and 28 U.S.C. § 2461(c).
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2: Upon conviction of a violation of 21 U.S.C. §§ 846 and/or
841(a)(1), as alleged in Count One, the defendants,
EDWAR RODRIGUEZ,
a/k/a “Domi,”

a/k/a “Brooklyn,”
CHRISTIAN SANTIAGO RONDON,

VICTOR SANTIAGO RONDON,
OLGA PATRICIA JACKSON,
JORGE RAMIREZ,

a/k/a “Dientes,”

a/k/a “Ching,”

a/k/a “Cha-Ching,” and
CARLOS BIRIS MARTINEZ,
a/k/a “Weecho,”

a/k/a “Joto,”

shall forfeit to the United States, pursuant to 21 U.S.C. §§ 853(a)(1) and (2),
any property constituting, or derived from, any proceeds the defendant
obtained, directly or indirectly, as a result of such violation, and any property
used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, such violation.

3. The property to be forfeited includes, but is not limited to, an
order of forfeiture in the amount of proceeds obtained from the offense.

4, If any of the property described above, as a result of any act or
omission of the defendants:

a. cannot be located upon the exercise of due diligence;
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b. has been transferred or sold to, or deposited with, a third
party,

Gi has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

é. has been commingled with other property that cannot be

divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute

property under the provisions of 21 U.S.C. § 853(p).

 

A TRUE BILL, g
Foreperson

MARIA CHAPA LOPEZ
United Stayés Attorney

Mi¢hael M. Gordon
Assistant United States Attorney

nye Ghitelags. Mane

\-Sharistopher F. Murray
Assistant United States Attorney
Chief, Violent Crimes and Narcotics Section
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No
UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

 

THE UNITED STATES OF AMERICA
VS.
EDWAR RODRIGUEZ,
a/k/a “Domi,”
a/k/a “Brooklyn,”
CHRISTIAN SANTIAGO RONDON,

VICTOR SANTIAGO RONDON,
OLGA PATRICIA JACKSON,
JORGE RAMIREZ,

a/k/a “Dientes,”

a/k/a “Ching,”

a/k/a “Cha-Ching,” and
CARLOS BIRIS MARTINEZ,

a/k/a “Weecho,”

a/k/a “Joto”

INDICTMENT
Violations: 21 U.S.C. § 846

 

A true bill,

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Filed in open court this 22nd day

 

of January, 2020.

 

Clerk
Bail $

 

GPO 343.52
